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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )       Criminal No. 22-mj-5440-JGD
                                              )
Patrick Baxter,                               )
                                              )
                       Defendant              )


                             GOVERNMENT'S MOTION TO SEAL
                                    COMPLAINT

       The United States Attorney hereby respectfully moves the Court to seal the complaint,

supporting affidavit, this motion and the Court’s order on this motion, and any other paperwork

related to this matter, until further order of this Court. As grounds for this motion, the

government states that public disclosure of these materials might jeopardize the ongoing

investigation of this case, as well as the government’s ability to arrest the defendant.

       The United States Attorney further moves pursuant to General Order 06-05 that the

United States Attorney be provided copies of all sealed documents that the United States

Attorney has filed in the above-styled matter.

                                                      Respectfully submitted,
 Motion to seal allowed
 Dec 7, 2022                                          RACHAEL S. ROLLINS
                                                      United States Attorney

                                                  By: /s/ David G. Tobin
                                                      David G. Tobin
                                                      Assistant U.S. Attorney

                                                      Date: 12/07/2022
